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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                                                         CASE NO.: 1:21 -cv- 22021 - KMW

   LYNDSAY DRAVES,

          Plaintiff,
   v.

   TURBO POWER, LLC,
   a/k/a Turbopower, LLC

          Defendant.
                                                           /


                  DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS
                            AND CORPORATE DISCLOSURE STATEMENT
         Defendant, TURBOPOWER, (hereinafter “Defendant”) by and through its undersigned

  counsel, hereby files this Certificate of Interested Persons and Corporate Disclosure Statement,

  as required by court order.

          1.     The name of each person, attorney, association of persons, firm, law firm,
  partnership, and corporation that has or may have an interest in the outcome of this action –
  including subsidiaries, conglomerates, affiliates, parent corporations, publicly traded companies
  that own 10% or more of a party’s stock and all other identifiable legal entities related to any
  party in this case:

                   A. Turbopower, Defendant
                   B. Lyndsay Draves, Plaintiff
                   C. Gulisano Law, PLLC, Counsel for Plaintiff

         2.      The name of every other entity whose publicly traded stock, equity or debt may be
   substantially affected by the outcome of the proceeding:

        None.

         3.    The name of every other entity which is likely to be an active participant in the
 proceedings, including the debtor and members of the creditors committee (or twenty largest
 unsecured creditors) in bankruptcy cases.

         None.


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                                               CERTIFICATE OF SERVICE

                  I HEREBY CERTIFY that on this 4th day of November, 2021, a true and correct

 copy of the foregoing was filed with the Clerk of Court by using the CM/ECF. I also certify that

 the foregoing document is being served this day on all counsel of record identified on the attached

 Service List in the manner specified, either via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those counsel of parties who are

 not authorized to receive electronically Notices of Electronic Filing.

                                                                              /s/ Karly A. Wannos
                                                                              KARLY A. WANNOS, ESQ.
                                                                              Florida Bar No: 42451
                                                                              RACHEL K. BEIGE, ESQ.
                                                                              Florida Bar No: 16366
                                                                              COLE, SCOTT & KISSANE, P.A.
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